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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

USAMA JAMIL HAMAMA, et al.,

       Petitioners and Plaintiffs,
                                                     Case No. 2:17-cv-11910
 v.                                                  Hon. Mark A. Goldsmith
                                                     Mag. David R. Grand
REBECCA ADDUCCI, et al.,                             Class Action

       Respondents and Defendants.


  SECOND AMENDED STIPULATED ORDER FOR THE PROTECTION OF
               CONFIDENTIAL INFORMATION
        I.         Except as otherwise ordered by this Court, this Order for the

  Protection of Confidential Information (“Order”) shall apply to all documents and

  information produced and all discovery responses given or filed in this action by

  the parties and any non-party that produces discovery in this case pursuant to a

  discovery demand, subpoena, agreement or order of the Court. For purposes of

  this Order, “documents, information and discovery responses” shall include, but

  not be limited to, documents and tangible things, responses to requests for

  production of documents or other things, responses to interrogatories, responses to

  requests for admissions, deposition testimony and exhibits, and all copies, extracts,

  summaries, or compilations.




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       II.           Any party or non-party from whom production is sought may

  designate the following as CONFIDENTIAL:

               documents, information, and discovery responses that the designating
                party or non-party reasonably believes not to be in the public domain;
               personal information covered by the Privacy Act, 5 U.S.C. § 552a
                and Federal Rule of Civil Procedure 5.2;
               an individual’s birth date, social security number, tax identification
                number, alien registration number (“A number”), passport numbers,
                driver’s license numbers, and any similar numbers assigned to an
                individual by a federal/national, state, or local government of the
                United States or any other country if not subject to privilege or other
                restrictions prohibiting disclosure even under protective order; and
               names, locations of, and any other identifying information which
                would allow the identification of the particular individual(s) to whom
                the information relates, or testimony on the record, of individuals not
                related to this litigation.
       III.     Any party or non-party from whom production is sought may

  designate the following as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

  ONLY (referred to herein as “HIGHLY CONFIDENTIAL”):

               extremely sensitive documents, information, and discovery responses,
                disclosure of which to another party or non-party would create a
                substantial risk of serious harm that could not be avoided by less
                restrictive means, including information which, if disclosed, could
                adversely impact foreign relations or result in a party or material
                witness deciding not to testify out of fear of adverse immigration or
                criminal consequences;
               documents, information, and discovery responses which the Court has
                ordered produced under this designation;
               names, phone numbers and email addresses of federal employees
                unless subject to the law enforcement privilege; and




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               travel document requests, drafts of flight manifests, sensitive
                communications with the Iraqi government if those communications
                relate to the removal process, and/or any document that contains
                information that is law enforcement sensitive, for instance,
                information which may be protected from public disclosure under the
                Freedom of Information Act, 5 U.S.C. § 552, et seq., and are not
                subject to the law enforcement privilege or other restrictions on
                disclosure.

        IV.     Any document, information and discovery response given or filed in

  this action may be designated by stamping or otherwise marking (in such manner

  as will not interfere with the legibility of the document) each page of a document

  containing confidential information with the notation “CONFIDENTIAL” or

  “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

        V.          Any copies or reproductions, excerpts, summaries, or other

  documents or media that paraphrase, excerpt, or contain CONFIDENTIAL or

  HIGHLY CONFIDENTIAL information shall also be treated as CONFIDENTIAL

  or HIGHLY CONFIDENTIAL information pursuant to this Order.

        VI.         This Order does not preclude Counsel of Record for

  Plaintiffs/Petitioners and Defendants/Respondents from disclosing non-personal

  identifying   aspects   of   CONFIDENTIAL       or   HIGHLY     CONFIDENTIAL

  information, such as the fact that certain CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information exists or aggregated data and information about the

  proposed class or members of the class if the class is certified (such as, but not

  limited to, the number of proposed or actual class members, composition of the


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  proposed or actual class, analysis or summaries about the experiences of proposed

  or actual class members) that are derived from the CONFIDENTIAL or HIGHLY

  CONFIDENTIAL documents, information and discovery responses. Any

  disclosure of aggregated CONFIDENTIAL or HIGHLY CONFIDENTIAL

  documents, information, and discovery responses shall not contain any personally

  identifying information (such as an individual’s name, Alien Number, or birthdate)

  that would allow the public to associate any aspect of the aggregated data with an

  individual.

        VII.       In the event deposition testimony concerns matters that a party or

  non-party deems CONFIDENTIAL or HIGHLY CONFIDENTIAL, the entity

  seeking such protection may designate that portion of the transcript as such (a)

  during the course of the deposition (in which case participation in that portion of

  the deposition may be limited to those persons who are authorized to receive such

  information pursuant to this Order) or (b) by written designation made within

  fifteen (15) days of receipt of the relevant transcript. The 15-day period is subject

  to enlargement or shortening either by consent of all interested entities, such

  consent not to be unreasonably withheld, or by order of the Court. The parties

  shall treat each deposition transcript as if designated CONFIDENTIAL or

  HIGHLY CONFIDENTIAL until the period for the confidentiality designation of




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  such transcript has expired, after which time the parties shall honor all

  confidentiality designations in such transcript as provided in this Order.

                A.    Regardless of the manner in which deposition designation as

  CONFIDENTIAL or HIGHLY CONFIDENTIAL is initially made, such written

  designation shall be accomplished by clearly marking on a copy of that transcript

  each portion of the transcript containing CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information by placing the legend on the page of each portion of

  the transcript to be so designated.

                B.    At any deposition session, when counsel for a party or the

  deponent deems that the answer to a question will result in the disclosure of

  CONFIDENTIAL or HIGHLY CONFIDENTIAL information, counsel shall have

  the option, in lieu of taking other steps available under the Federal Rules of Civil

  Procedure, to request that all persons other than the reporter, counsel, and those

  who have access to the appropriate category of information, leave the deposition

  room during that portion of the deposition. The failure of such other persons to

  comply with such a request shall constitute substantial justification for counsel to

  advise the witness that he or she need not answer the question pending.

        VIII.        It is the responsibility of counsel for each party to this action to

  take reasonable precautions to prevent the unauthorized or inadvertent disclosure

  of any materials containing CONFIDENTIAL or HIGHLY CONFIDENTIAL



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  information obtained from any party or non-party by maintaining the information

  in a secure and appropriate manner so as to allow access to the information only to

  such persons as are permitted pursuant to this Order.

        IX.           This order does not authorize the filing of any documents or other

  matter under seal. Documents or other matter may be sealed only if authorized by

  statute, rule, or order of the Court. A party seeking to file records with the Court

  that have been designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL

  shall coordinate with the designating party (if not the filing party) to provide to the

  Court, either by motion or proposed stipulated order, the parties’ positions

  regarding sealing, including

                 i.    the authority asserted for sealing;

                ii.    an identification and description of each item proposed for
                       sealing;

               iii.    the parties’ position on whether the record should be sealed is
                       necessary;

                iv.    the parties’ position on whether means other than sealing are
                       unavailable or unsatisfactory to preserve the interest advanced
                       by the movant in support of sealing; and

                v.     a memorandum of legal authority supporting each party’s
                       position.

  See Local Rule 5.3. The designating party shall have the responsibility of

  establishing that sealing is necessary. A party shall not file or otherwise tender to

  the Clerk any item proposed for sealing unless the Court has granted the motion or



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  entered the proposed stipulated order required by this section.         Neither their

  stipulation to entry of this Order nor the fact that a party has not challenged,

  through the procedures in Section XVIII, the designation of the information sought

  to be filed under seal as CONFIDENTIAL or HIGHLY CONFIDENTIAL shall be

  construed as agreement that such documents are properly considered

  CONFIDENTIAL or HIGHLY CONFIDENTIAL, as consent to filing such

  material under seal or as a waiver of that party’s ability to object to sealing. See

  Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d 299, 305 (6th Cir.

  2016).

        X.            Except with the prior written consent of the party asserting

  confidential treatment or prior order of the Court, any CONFIDENTIAL or

  HIGHLY CONFIDENTIAL document or discovery response, and the information

  contained therein, may not be disclosed other than in accordance with this Order.

  All persons to whom CONFIDENTIAL or HIGHLY CONFIDENTIAL

  information is disclosed shall be required to abide by the terms of this Order.

        XI.           CONFIDENTIAL information may be disclosed to the following

  individuals:

                 A.    Counsel    of    Record     for    Plaintiffs/Petitioners    and

  Defendants/Respondents, and employees and students working under the




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  supervision of such counsel, but only after such students have completed the

  certification contained in Exhibit A, Acknowledgment Regarding the Order;

                 B.   The Court and its personnel;

                 C.   Court reporters and other personnel engaged to record

  depositions;

                 D.   Persons engaged by Counsel of Record for the limited purpose

  of making copies of documents or organizing or processing documents, including

  outside vendors hired to process electronically stored documents;

                 E.   Consultants, investigators, or experts employed by the parties

  or Counsel of Record for the parties to assist in the preparation and trial of this

  action, but only after such persons have completed the certification contained in

  Exhibit A, Acknowledgment Regarding the Order;

                 F.   The author or recipient of the document (not including a person

  who received the document in the course of litigation);

                 G.   Other persons upon order of the Court;

                 H.   For confidential information relating to proposed members of

  the class or members of the class if the class is certified, the institutions and

  individuals, to be designated by Counsel of Record from the American Civil

  Liberties Union Fund of Michigan, who will coordinate access for the proposed or

  actual class members to independent legal representation, but only after such



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  persons have completed the certification contained in Exhibit A, Acknowledgment

  Regarding the Order;

              I.     For information designated as CONFIDENTIAL relating to

  proposed members of the class or members of the class if the class is certified, the

  individual class member and counsel who represent individual class members (or

  who will represent individual class members once a formal engagement is

  executed). The individual class member and counsel shall only be provided

  CONFIDENTIAL information relating to the individual class member, and may

  not provide the individual any information pertaining to other class members; and

              J.     Any prospective counsel that is evaluating whether to take on

  the representation of a proposed member of the class or a member of the class if

  the class is certified, however, the CONFIDENTIAL information disclosed to the

  prospective counsel will be limited to name, Alien number, and detention location

  for the prospective client. Before receiving this limited CONFIDENTIAL

  information, prospective counsel must execute Exhibit A, the Acknowledgment

  Regarding the Order. Once prospective counsel is retained by an individual class

  member or will represent an individual class member once a formal engagement is

  executed, all CONFIDENTIAL information about their client may be disclosed to

  the counsel as permitted under Section XI.I.




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         XII. HIGHLY CONFIDENTIAL information may be disclosed to the

  individuals listed in paragraphs XI.A. to XI.G.

         XIII.       Nothing in this Order shall preclude any party to this lawsuit or

  its   counsel:   (a)   from   showing     any     CONFIDENTIAL        or    HIGHLY

  CONFIDENTIAL document or discovery response to an individual who either

  prepared, authored, or received the document or discovery response prior to the

  filing of this action; (b) from disclosing or using, in any manner or for any purpose,

  any information or documents from the party’s own files that that party itself has

  designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL; or (c) from

  disclosing or using, in any manner or for any purpose, any information or

  documents obtained legally from a source not governed by this Order.

         XIV.       A party disclosing CONFIDENTIAL information to a person

  described in paragraph XI.E and XI.H or HIGHLY CONFIDENTIAL information

  to a person described in paragraph XI.E must first: (i) advise the recipient that the

  information has been designated CONFIDENTIAL or HIGHLY CONFIDENTIAL

  pursuant to this Order, and may only be used in connection with this action; (ii)

  provide the recipient with a copy of this Order; and (iii) have that person execute

  Exhibit A, the Acknowledgment Regarding the Order.

         XV.        In the event that a party receiving CONFIDENTIAL or HIGHLY

  CONFIDENTIAL documents or information receives a subpoena, a request for the



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  production of documents in connection with another litigation, or other compulsory

  process for any such CONFIDENTIAL or HIGHLY CONFIDENTIAL documents

  or information from any court or local, state, or federal government entity, the

  receiving party shall provide notice of the subpoena in writing to the party that

  produced the information within two (2) business days of receipt of such subpoena,

  request for production, or other process. The notice will set forth the information

  subpoenaed or requested, the person requesting the information, and attach a copy

  of the subpoena or other process. The purpose of the notice is to provide an

  opportunity for the party that had produced and designated the CONFIDENTIAL

  or HIGHLY CONFIDENTIAL information to challenge the subpoena, request, or

  other process. The receiving party shall not produce any CONFIDENTIAL or

  HIGHLY CONFIDENTIAL information in response to such subpoena, request, or

  other compulsory process without the prior written consent of the party that

  produced such information, unless in response to an order of a court or an

  administrative tribunal of competent jurisdiction.

        XVI.        All documents, information, and discovery responses designated

  as CONFIDENTIAL or HIGHLY CONFIDENTIAL subject to this Order shall be

  used solely and exclusively for purposes of this action in accordance with the

  provisions of this Order. No documents, information and discovery response shall

  be used in or for other cases, proceedings, or disputes, or for any commercial,



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  business, competitive, or other purpose whatsoever, without further order of this

  Court, with the exception of individual class members’ immigration files and other

  information provided to the individual or their immigration counsel under Section

  XI.I, which can be used in their individual cases.

        XVII.        Use by the parties of any CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information at pre-trial hearings and at trial shall be governed as

  follows:

                A.    In the event that any CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information is used in any pre-trial hearing or proceeding in this

  action, and there is any dispute as to whether such information continues to be

  CONFIDENTIAL or HIGHLY CONFIDENTIAL, the parties will meet and confer

  in an effort to resolve such dispute.         If the CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information at issue was produced by a non-party, and/or

  designated by a non-party, the party intending to use the information shall give

  such non-party ten (10) business days’ written notice and an opportunity to

  participate in the meet and confer. If the dispute cannot be resolved by agreement,

  the party producing the information bears the burden of proving the information at

  issue is CONFIDENTIAL or HIGHLY CONFIDENTIAL within the definition(s)

  of those term(s) set forth above.




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                 B.   The parties shall confer and attempt to agree, before trial or

  other hearing, on the procedures under which CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information may be introduced into evidence or otherwise used

  at such trial or hearing.

                 C.   Absent agreement, the Court shall be asked to issue an order

  governing the use of CONFIDENTIAL or HIGHLY CONFIDENTIAL

  information at trial or other hearing upon reasonable notice to all parties and non-

  parties who have produced such CONFIDENTIAL or HIGHLY CONFIDENTIAL

  information.

                 D.   Notice of the potential use at trial or other hearing of any

  CONFIDENTIAL or HIGHLY CONFIDENTIAL information produced or

  designated by non-parties shall be provided to such non-parties by the party

  intending to the use information, along with the terms of any agreement or Court

  order issued pursuant to paragraph XVIII of this Order, if and when any such

  materials are listed as potential exhibits in the required filings prior to

  commencement of trial. The party intending to use the information shall give

  notice as soon as practicable after any CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information which is not listed on an exhibit list is determined

  to be likely to be used by counsel for a party in the course of trial or other hearing




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  subject to an agreement or Court order issued pursuant to paragraph XVIII of this

  Order.

        XVIII.          Any party who wishes to challenge another party’s designation

  of information as CONFIDENTIAL or HIGHLY CONFIDENTIAL, including any

  challenge to the designation of any record or any portion of a record that otherwise

  can be made public pursuant to a request under the Freedom of Information Act, 5

  U.S.C. § 552, et seq., may proceed as follows:

                A.      Any party receiving any information or documents that have

  been designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL may object

  in writing to such designation by providing notice to all parties (and to a non-party

  if that is the designating entity), and identify the desired de-designation by

  specifying the information or material that the challenging party contends was

  improperly designated. The designating party (or any other interested party or

  non-party) shall then have ten (10) days to reject the desired de-designation by so

  informing the challenging party, in writing, on notice to all parties. (The 10-day

  period in which to respond is subject to enlargement or shortening by either

  consent of all interested entities, such consent not to be unreasonably withheld, or

  the Court.)        Absent a timely rejection of the desired de-designation, the

  information shall be deemed to be de-designated in accordance with the

  challenging party’s notice of de-designation. If such objection cannot be resolved,



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  in good faith, by agreement, the objecting party may file a motion with the Court

  or ask the Court for a status conference and a date to submit a joint statement of

  issues setting forth the parties’ positions on the confidentiality challenge to

  determine the propriety of the designation.

               B.    The objecting party shall: (a) certify that he or she has sought

  in good faith to confer with opposing counsel and has been unable to resolve the

  dispute by agreement; and (b) list by document number, deposition page and line

  number, or other appropriate designation of material lacking bates numbers, the

  information that the party claims was improperly designated CONFIDENTIAL or

  HIGHLY CONFIDENTIAL.

               C.    If the objecting party files a motion, the other party may file a

  response opposing the motion of up to twenty (20) pages in length within ten (10)

  days after service of such motion. The party seeking the de-designation shall have

  leave to submit a twenty (20) page reply. The burden of establishing the factual

  and legal basis for confidential treatment of any information rests with the party

  requesting such confidentiality.

               D.    If such motion is timely made, until the motion is ruled upon by

  the Court, the designation of confidentiality shall remain in full force and effect

  and the information shall continue to be accorded the treatment required by this

  Order.



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        XIX.         Disclosure    by       the        producing   party   or   non-party   of

  CONFIDENTIAL or HIGHLY CONFIDENTIAL information without proper

  designation at the time of disclosure shall not be deemed a waiver, in whole or in

  part, of any party’s or non-party’s claim to confidentiality, either as to the specific

  information disclosed or as to any other information relating to the subject matter

  of the information disclosed. Upon learning of the disclosure of CONFIDENTIAL

  or HIGHLY CONFIDENTIAL information without proper designation, the party

  or non-party seeking protection of the information shall, within ten (10) days,

  properly designate such information; provided, however, that no party shall be

  deemed to be in breach of this Order by reason of any use or disclosure of such

  information, inconsistent with such later designation, that occurred prior to

  notification of such later designation.

        XX.         Nothing contained in this Order shall affect the right of any party

  or producing entity to make any objection, claim privilege, or otherwise contest

  any request for production of documents, subpoena, interrogatory, request for

  admission, or question at a deposition as permitted by the Federal Rules of Civil

  Procedure. Nothing in this Order shall constitute an admission or waiver, in whole

  or in part, of any claim, privilege, or defense by any party or producing entity.

        XXI.        If a producing party or non-party inadvertently produces

  privileged material, upon learning of the inadvertent disclosure, it shall promptly



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  so notify in writing those persons to whom it produced that material. Upon receipt

  of such notification, the receiving persons shall immediately return to the

  producing party or non-party all copies of such material in its possession and shall

  immediately delete all electronic copies of such material. The receiving persons

  shall also immediately inform any person to whom disclosure of such material was

  made of the inadvertent disclosure, and shall request that each such person

  immediately destroy and/or delete all copies of such material within its possession

  and shall expunge from any other document or material information solely derived

  from the inadvertently produced information except where the document or

  information has been made part of the record or a filing in the action in which case

  the burden of seeking removal or expungement shall be on the designating party.

        XXII.       If a person who receives CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information realizes that any of that information is subject to the

  attorney-client, work-product, or other privilege, that person shall promptly notify

  the producing party, return the privileged information, delete all electronic copies

  of such information, and shall expunge from any other document or material the

  information solely derived from the inadvertently produced privileged information

  except where the document or information has been made part of the record or a

  filing in the action in which case the burden of seeking removal or expungement

  shall be on the designating party. Those persons shall also immediately inform any



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  other person to whom disclosure of such material was made, and shall request that

  each such person immediately destroy and/or delete all copies of such material

  within its possession.

        XXIII.       Any party shall be free to move to modify this Order.

        XXIV.        A failure to challenge the propriety of a designation of

  confidentiality at the time the designation is made shall not preclude or detract

  from a subsequent challenge thereto.

        XXV.         All materials containing CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information that are submitted to the Court or used in any

  pretrial proceeding before this Court shall continue to be entitled to the protection

  provided by this Order.

        XXVI.        Each person who receives CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information agrees to subject himself or herself to the

  jurisdiction of this Court for the purpose of any proceedings relating to the

  performance under, compliance with, or violation of, this Order.

        XXVII.       Not later than 120 calendar days after conclusion of this action

  and any appeal related to it, all CONFIDENTIAL or HIGHLY CONFIDENTIAL

  information of any type, all copies thereof, and all excerpts therefrom shall be

  returned to counsel for the party or non-party producing the documents, or

  destroyed, at the producing entity’s option, except that outside counsel for each of



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  Plaintiffs and Defendants may retain one copy of all CONFIDENTIAL or

  HIGHLY CONFIDENTIAL information, and except as this Court may otherwise

  order or to the extent such information has been used as evidence at any trial or

  hearing. Notwithstanding this obligation to return or destroy information, counsel

  may retain any attorney work product.

        XXVIII.      After termination of this action, the provisions of this Order

  shall continue to be binding, except with respect to those documents and

  information that become a matter of public record. This Court retains and shall

  have jurisdiction over the parties and recipients of CONFIDENTIAL or HIGHLY

  CONFIDENTIAL information of any type for enforcement of the provisions of

  this Order following termination of this litigation.

        XXIX.        A breach of the provisions of this Order shall be subject to

  sanctions, in the discretion of the Court as within or authorized by any statute, rule,

  or inherent power of the Court, or as otherwise provided by law.

        XXX.         This Order shall have no effect on whether a document or

  information is discoverable. This Order shall not be used as a basis to expand the

  scope of discovery permitted by applicable law. Any agreement of the parties

  embodied in this Order does not constitute an admission or agreement that any

  document     or    information    designated     CONFIDENTIAL          or    HIGHLY

  CONFIDENTIAL by a party or non-party: (a) is entitled to any confidentiality; (b)



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  is competent, relevant, or material; (c) is subject to discovery; or (d) is admissible

  as evidence in this case. Designation of any information subject to this Order shall

  have no meaning or effect with respect to the substantive issues in this proceeding

  for the claims or defenses of any party hereto.

        XXXI.       This Order does not require production of (a) work product

  material or information or (b) materials or information covered by the attorney-

  client or other applicable, state or other, privileges. Such material may continue to

  be withheld from discovery by any party, unless the Court orders otherwise.

  SO ORDERED.

  Dated: June 19, 2018                          s/Mark A. Goldsmith
        Detroit, Michigan                       MARK A. GOLDSMITH
                                                United States District Judge

                            CERTIFICATE OF SERVICE

  The undersigned certifies that the foregoing document was served upon counsel of
  record and any unrepresented parties via the Court's ECF System to their
  respective email or First Class U.S. mail addresses disclosed on the Notice of
  Electronic Filing on June 19, 2018.

                                                s/Karri Sandusky
                                                Case Manager




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  SO STIPULATED.


  Dated: June 1, 2018

  By: /s/ William C. Silvis (with consent)   By: /s/ Kimberly L. Scott
  William C. Silvis                          Kimberly L. Scott (P69706)
  Unites States Department of Justice        Cooperating Attorneys, ACLU Fund
  Office of Immigration Litigation –           of Michigan
    District Court                           MILLER, CANFIELD, PADDOCK
  P.O. Box 868 Ben Franklin Station           & STONE, PLC
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 USAMA JAMIL HAMAMA, et al.,

       Petitioners and Plaintiffs,
                                                     Case No. 2:17-cv-11910
                                                     Hon. Mark A. Goldsmith
 v.
                                                     Mag. David R. Grand
                                                     Class Action
 REBECCA ADDUCCI, et al.,

       Respondents and Defendants.

                                      EXHIBIT A

           ACKNOWLEDGMENT REGARDING THE ORDER FOR THE
              PROTECTION OF CONFIDENTIAL INFORMATION
        I, ____________________________, have read and understand the

  Order for the Protection of Confidential Information (“Order”) entered by

  the Court in this case and agree to be bound by the provisions of that Order.

  I agree to subject myself to the jurisdiction of this Court for purposes of any

  proceedings relating to performance under, compliance with or violation of

  the Order.


                                                Signature


                                                Print Name

  Dated:



                                           22
